                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:                                                                  Case No. 18-41570

NICKOLUS SOUTH,                                                         Chapter 13

                  Debtor.                                               Judge Thomas J. Tucker
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                        ORDER DENYING THE DEBTOR’S MOTION
                          TO EXTEND THE AUTOMATIC STAY

         This case is before the Court on a motion filed on February 27, 2018 by the Debtor,

entitled “Motion to Extend the Automatic Stay” (Docket # 24, the “Motion”). The Court will

deny the Motion, for the following reasons.

         First, the Motion was not timely filed. Under 11 U.S.C. § 362(c)(3)(B), in order for the

Court to extend the automatic stay, a hearing on a motion to extend the automatic stay must be

completed within 30 days after the filing of the case. Because of the statute’s 30-day hearing

deadline, LBR 4001-4(a) (E.D. Mich.) requires that a motion to extend the stay be filed and

served within seven days after the bankruptcy petition is filed. The Debtor filed his voluntary

petition for relief under Chapter 13 in this case on February 6, 2018. The Debtor did not file his

Motion until February 27, 2018, which was 14 days after the deadline to file such a motion

expired under LBR 4001-4(a).1

         Second, the Motion was not timely served — February 28, 2018 at the earliest, per

Docket # 26 — which was 15 days after the deadline to serve such a motion under LBR 4001-

4(a).


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          The Court notes that the Debtor filed an earlier motion to extend the stay on February 12,
2018, and again on February 14, 2018 (Docket ## 16, 19), but both of those motions were stricken, for
reasons stated in the orders striking them (Docket ## 18, 23).



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       Third, the only certificate regarding service of the Motion (Docket # 26) is deficient.

This is so because that certificate says that service was to be done by “BK Attorney Services,

LLC d/b/a certificateofservice.com,” and that “[a] copy of the declaration of service is attached

hereto and incorporated as if fully set forth herein,” but no such declaration of service by BK

Attorney Services, LLC was attached.

       Fourth, it is now impossible to schedule and conclude a hearing on the Motion within the

required 30-day period; that period ended on March 8, 2018.

       Accordingly,

       IT IS ORDERED that the Motion (Docket # 24), is denied.




Signed on March 9, 2018




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